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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    GREGORY LEE GRAY,                                           CASE NO. 08 CV 1147 JM (AJB)
12                                          Plaintiff,            ORDER DENYING MOTION TO
             v.                                                   CORRECT AS MOOT
13
                                                                  Doc. No. 36
14    ROBERT HERNANDEZ et al.,

15                                       Defendants.

16          Plaintiff, appearing pro se and in forma pauperis, initiated this action under 42 U.S.C. § 1983
17   on June 26, 2008. On July 1, 2009, nunc pro tunc, Plaintiff filed a reply to the magistrate judge’s
18   Report and Recommendation. (Doc. No. 33.) A discrepancy order issued indicating Plaintiff’s reply
19   lacked the required proof of service. (Doc. No. 32.) On July 20, 2009, nunc pro tunc, Plaintiff
20   submitted the instant motion requesting the court enter that proof of service. (Doc. No. 36.) However,
21   the court now notes the discrepancy order was issued in error as Plaintiff’s reply was properly
22   accompanied by a proof of service. Therefore, Plaintiff’s current request for a correction is moot and
23   the motion is therefore DENIED.
24          IT IS SO ORDERED.
25   DATED: July 31, 2009
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                                                         Hon. Jeffrey T. Miller
27                                                       United States District Judge
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